16-01228-smb         Doc 92      Filed 03/17/17       Entered 03/17/17 14:12:16             Main Document
                                                     Pg 1 of 3


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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------   x
In re:                                                                :
                                                                      :   Chapter 11
SUNEDISON, INC., et al.,                                              :   Case No. 16-10992 (SMB)
                                                                      :   (Jointly Administered)
                                    Debtors.                          :
-------------------------------------------------------------------   x
                                                                      :
OFFICIAL COMMITTEE OF UNSECURED                                       :   Adversary Proceeding
CREDITORS, on behalf of the estates of the Debtors,                   :   No. 16-01228 (SMB)
                                                                      :
                                    Plaintiff,                        :
                           v.                                         :
                                                                      :
WELLS FARGO BANK, N.A., et al.,                                       :
                                                                      :
                                    Defendants.                       :
-------------------------------------------------------------------   x

             SECOND LIEN LENDER DEFENDANTS’ RESPONSE
   TO THE ORDER TO SHOW CAUSE REGARDING REDACTED AND/OR SEALED
                           DOCUMENTS

         The Second Lien Lender Defendants,1 by and through their undersigned attorneys, hereby

file this response to the Order to Show Cause directing parties to show cause why the



         1
           The Second Lien Lender Defendants are identified in the Notices of Appearance and Requests for Service
of All Pleadings and Documents [AP Docs. 23 & 63]. Capitalized terms not defined herein have the meanings
ascribed to them in the Joint Memorandum of Law of the Second Lien Defendants in Support of Their Motion to

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16-01228-smb        Doc 92      Filed 03/17/17       Entered 03/17/17 14:12:16              Main Document
                                                    Pg 2 of 3


information and documents that have been redacted and/or filed under seal in the above-

captioned adversary proceeding should not be unsealed. See Notice of Hearing on Order To

Show Cause [AP Doc. 86] (the “Notice”).

        As set forth in the Notice, the following documents have been redacted and/or filed under

seal on the docket in the above-captioned adversary proceeding: Adversary Complaint [AP Docs.

1, 3]; Amended Adversary Complaint [AP Docs. 12, 13]; Joint Memorandum of Law of the

Second Lien Defendants in Support of Their Motion to Dismiss [AP Doc. 25]; Plaintiff’s

Omnibus Opposition to Defendants’ Motions to Dismiss [AP Docs. 35, 37]; Declaration of

Deborah J. Newman in Further Support of the Second Lien Defendants’ Motion to Dismiss [AP

Doc. 45]; Joint Reply of the Second Lien Defendants in Further Support of Their Motion to

Dismiss [AP Doc. 46]; and Prepetition First Lien Administrative Agent’s and Lenders’ Reply

Memorandum of Law in Further Support of Motion to Dismiss [AP Doc. 47] (collectively, the

“Redacted and Sealed Documents”).

        The Second Lien Lender Defendants do not contest the unsealing of the Redacted and

Sealed Documents, with the exception of the portion of Exhibit D to the Declaration of Deborah

J. Newman in Further Support of the Second Lien Defendants’ Motion to Dismiss [AP Doc. 45]

(the “Newman Reply Declaration”) that includes tax identification, brokerage, and account

number information that is entitled to protection from disclosure under the Federal Rules of

Bankruptcy Procedure, and is not relevant to the matters at issue in the adversary proceeding. See

11 U.S.C. § 107(b); FED. R. BANKR. P. 9018; FED. R. BANKR. P. 9037 (providing for the

protection of tax identification numbers and account numbers); see also In re Borders Grp., Inc.,

462 B.R. 42, 48 (Bankr. S.D.N.Y. 2011). Accordingly, the Second Lien Lender Defendants


Dismiss [AP Doc. 25] and the Joint Reply of the Second Lien Defendants in Further Support of Their Motion to
Dismiss [AP Doc. 46].

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16-01228-smb        Doc 92       Filed 03/17/17      Entered 03/17/17 14:12:16              Main Document
                                                    Pg 3 of 3


request authorization to file a replacement version of Exhibit D to the Newman Reply

Declaration that redacts this information and may be publicly filed on the docket. The Second

Lien Lender Defendants have conferred with the Creditors’ Committee, and understand that the

Creditors’ Committee does not object to this request.2



Dated:           New York, New York
                 March 17, 2017
                                                    AKIN GUMP STRAUSS HAUER & FELD LLP

                                                    By:      /s/ David M. Zensky
                                                            David M. Zensky
                                                            Erik Preis
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                                                      Counsel to the Second Lien Lender Defendants




         2
           The Second Lien Lender Defendants understand the Order to Show Cause to apply only to the Redacted
and Sealed Documents currently on the docket at AP Docket numbers 12, 13, 25, 35, 37, 45, 46, and 47. In the
event that the public disclosure of any additional documents designated as Confidential or Highly Confidential
becomes an issue, the Second Lien Lender Defendants reserve their right to contest any such public disclosure or
submit additional briefing respecting any such documents.

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